UNION SAVINGS BANK, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Union Sav. Bank v. CommissionerDocket No. 10135.United States Board of Tax Appeals10 B.T.A. 1175; 1928 BTA LEXIS 3938; March 6, 1928, Promulgated *3938  An amount charged off in order to balance books not allowable as a deduction in the absence of evidence that a loss was sustained during the taxable year.  George M. Stanton, Esq., for the petitioner.  J. E. Marshall, Esq., for the respondent.  TRAMMELL*1175  This is a proceeding for the redetermination of a deficiency in income and profits taxes for the year 1920 in the amount of $2,017.82.  The deficiency arises, first, from the action of the respondent in disallowing a deduction claimed by the petitioner, and second, from the action of the respondent in taxing during the year an amount determined by him to represent a profit on the sale of real estate.  The error alleged with respect to the action of the respondent in subjecting to tax the profit from the sale of real estate was waived, leaving in issue only the matter of the deduction claimed with respect to which the facts were stipulated.  *1176  FINDINGS OF FACT.  The petitioner is a resident of Augusta, Richmond County, Ga.  Over a period of ten years prior to and including the year 1920, certain discrepancies occurred in the savings ledger of petitioner, throwing it out of*3939  balance, which discrepancies at the end of the taxable year 1920 aggregated $2,800.  Petitioner did not believe this amount of money had been actually lost over said period of time, and for that reason failed to make any charge to profit and loss to balance the savings ledger.  The State Banking Department had insisted for a long time that the discrepancies should be adjusted, and in 1920 the petitioner charged the amount of $2,800 to profit and loss so as to reconcile the savings ledger with the general ledger.  In its income-tax return for the taxable year 1920, petitioner set up said amount of $2,800 as an allowable deduction from its gross income for that year; and in auditing its return for said year, the respondent disallowed the same as an allowable deduction.  OPINION.  TRAMMELL: The petitioner claims a deduction of $2,800 because this amount was charged off its books during the taxable year in order to make its savings account balance.  There is no allegation or evidence that any loss was actually sustained by the petitioner during the taxable year.  If the books were out of balance it might have been due entirely to the fact that they were improperly kept, but mere*3940  bookkeeping entries in and of themselves do not establish a loss.  Judgment will be entered for the respondent.